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                                   10                     UNITED STATES DISTRICT COURT
                                   11
                                                        SOUTHERN DISTRICT OF CALIFORNIA
KAZEROUNI LAW GROUP, APC




                                   12   WILLIAM PACE, AND
                                                                             Case No.: '15CV2289 AJB BLM
  245 F ISHER A VENUE , U NIT D1




                                        ELISABETH PACE,
    C OSTA M ESA , CA 92626




                                   13
                                                    Plaintiffs,              COMPLAINT FOR DAMAGES FOR
                                   14                                        VIOLATIONS OF:
                                                            v.
                                   15                                        I.     THE ROSENTHAL FAIR
                                        SAN DIEGO COUNTY CREDIT                     DEBT COLLECTION
                                   16                                               PRACTICES ACT, CAL. CIV.
                                        UNION; AND, TRANSUNION,                     CODE § 1788, ET SEQ.;
                                   17   LLC,
                                                                             II.    THE FAIR CREDIT
                                   18               Defendants.                     REPORTING ACT, 15 U.S.C. §
                                                                                    1681, ET SEQ.; AND,
                                   19
                                                                             III.   CALIFORNIA CONSUMER
                                   20                                               CREDIT REPORTING
                                                                                    AGENCIES ACT, CAL. CIV.
                                   21                                               CODE § 1785.1, ET SEQ.
                                   22
                                                                             JURY TRIAL DEMANDED
                                   23
                                   24   ///

                                   25   ///

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                                   28   ///


                                        COMPLAINT FOR DAMAGES
                                        Case 3:15-cv-02289-AJB-BLM Document 1 Filed 10/14/15 PageID.2 Page 2 of 12



                                    1                                          INTRODUCTION
                                    2   1.      The California legislature has determined that the banking and credit system
                                    3           and grantors of credit to consumers are dependent upon the collection of just
                                    4           and owing debts and that unfair or deceptive collection practices undermine
                                    5           the public confidence that is essential to the continued functioning of the
                                    6           banking and credit system and sound extensions of credit to consumers. The
                                    7           Legislature has further determined that there is a need to ensure that debt
                                    8           collectors exercise this responsibility with fairness, honesty, and due regard
                                    9           for the debtor’s rights and that debt collectors must be prohibited from
                                   10           engaging in unfair or deceptive acts or practices.1
                                   11   2.      WILLIAM PACE (“Mr. Pace” or “Plaintiffs”) and ELISABETH PACE (“Mrs.
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                                   12           Pace” or “Plaintiffs”), by Plaintiffs’ attorneys, bring this action to challenge
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                                   13           the actions of SAN DIEGO COUNTY CREDIT UNION (“SDCCU” or
                                   14           “Defendants”), and TRANSUNION, LLC (“TransUnion” or “Defendants”)
                                   15           with regard to attempts by Defendants to unlawfully and abusively collect a
                                   16           debt allegedly owed by Plaintiffs, and this conduct caused Plaintiffs’ damages.
                                   17   3.      Plaintiffs make these allegations on information and belief, with the exception
                                   18           of those allegations that pertain to a plaintiff, or to a plaintiff’s counsel, which
                                   19           Plaintiffs allege on personal knowledge.
                                   20   4.      While many violations are described below with specificity, this Complaint
                                   21           alleges violations of the statutes cited in their entirety.
                                   22   5.      Unless otherwise stated, all the conduct engaged in by Defendants took place
                                   23           in California.
                                   24   6.      Any violations by Defendants were knowing, willful, and intentional, and
                                   25           Defendants did not maintain procedures reasonably adapted to avoid any such
                                   26           violation.
                                   27
                                        1
                                            Cal. Civ. Code §§ 1788.1 (a)-(b)
                                   28


                                        COMPLAINT FOR DAMAGES                                                     PAGE 1 OF 11
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                                    1   7.   Unless otherwise indicated, the use of any Defendants’ names in this
                                    2        Complaint includes all agents, employees, officers, members, directors, heirs,
                                    3        successors, assigns, principals, trustees, sureties, subrogees, representatives,
                                    4        and insurers of the Defendants named.
                                    5                                       JURISDICTION AND VENUE
                                    6   8.   Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331, 15 U.S.C. §
                                    7        1681, and 28 U.S.C. § 1367 for supplemental state claims.
                                    8   9.   This action arises out of Defendants’ violations of (i) the Rosenthal Fair Debt
                                    9        Collection Act, Cal. Civ. Code § 1788, et seq.; (ii) the Fair Credit Reporting
                                   10        Act, 15 U.S.C. § 1681, et seq.; and, (iii) California Consumer Credit
                                   11        Reporting Act, Cal. Civ. Code § 1785.1 (“CCCRAA”).
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                                   12   10. Because Defendants conduct business within the State of California, personal
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                                   13        jurisdiction is established.
                                   14   11. Venue is proper pursuant to 28 U.S.C. § 1391 for the following reasons: (i)
                                   15        Plaintiffs reside in the City of Escondido, County of San Diego, State of
                                   16        California which is within this judicial district; (ii) the conduct complained of
                                   17        herein occurred within this judicial district; and, (iii) Defendants conducted
                                   18        business within this judicial district at all times relevant.
                                   19                                           PARTIES
                                   20   12. Plaintiffs are natural persons who reside in the County of San Diego, State of
                                   21        California, from whom a debt collector sought to collect a consumer debt
                                   22        which was due and owing or alleged to be due and owing from Plaintiffs, and
                                   23        are both a “debtor” as that term is defined by California Civil Code §
                                   24        1788.2(h).
                                   25   13. Plaintiffs are informed and believe, and thereon allege, that SDCCU is a
                                   26        company operating from the City of San Diego, State of California.
                                   27   14. Plaintiffs are informed and believe, and thereon allege, that TransUnion is a
                                   28        limited liability company incorporated in the State of Delaware.


                                        COMPLAINT FOR DAMAGES                                                PAGE 2 OF 11
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                                    1   15. Plaintiffs are informed and believe, and thereon alleges that SDCCU, in the
                                    2         ordinary course of business, regularly, on behalf of itself or others, engages in
                                    3         “debt collection” as that term is defined by California Civil Code § 1788.2(b),
                                    4         and is therefore a “debt collector” as that term is defined by California Civil
                                    5         Code § 1788.2(c).
                                    6   16. In addition, SDCCU is a furnisher of information as contemplated by FCRA
                                    7         sections 1681s-2(a) & (b), that regularly and in the ordinary course of
                                    8         business furnish information to one or more consumer reporting agencies
                                    9         about consumer transactions or experiences with any consumer.
                                   10   17. TransUnion is a “consumer reporting agency” as that term is defined by 15
                                   11         U.S.C. § 1681a(f).
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                                   12   18. This case involves money, property or their equivalent, due or owing or
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                                   13         alleged to be due or owing from a natural person by reason of a consumer
                                   14         credit transaction. As such, this action arises out of a “consumer debt” and
                                   15         “consumer credit” as those terms are defined by Cal. Civ. Code § 1788.2(f).
                                   16   19. The causes of action herein also pertain to Plaintiffs’ “consumer credit
                                   17         reports” as that term is defined by Cal. Civ. Code § 1785.3(d), in that
                                   18         inaccurate representations of Plaintiffs’ credit worthiness, credit standing, and
                                   19         credit capacity were made via written, oral, or other communication of
                                   20         information by a consumer credit reporting agency, which is used or is
                                   21         expected to be used, or collected in whole or in part, for the purposes of
                                   22         serving as a factor in establishing Plaintiff’s eligibility for, among other
                                   23         things, credit to be used primarily for personal, family, household and
                                   24         employment purposes.
                                   25                                  FACTUAL ALLEGATIONS
                                   26   20. At all times relevant, Plaintiffs are individuals residing in the State of
                                   27         California.
                                   28   ///


                                        COMPLAINT FOR DAMAGES                                                 PAGE 3 OF 11
                                        Case 3:15-cv-02289-AJB-BLM Document 1 Filed 10/14/15 PageID.5 Page 5 of 12



                                    1   21. Plaintiffs are informed and believe, and thereon allege, that at all times
                                    2         relevant, Defendants conducted business in the State of California.
                                    3   22. Some time before November 2010, Plaintiffs allegedly incurred financial
                                    4         obligations to the original creditor, SDCCU, that were money, property, or
                                    5         their equivalent, which is due or owing, or alleged to be due or owing, from a
                                    6         natural person to another person and were therefore “debt(s)” as that term is
                                    7         defined by California Civil Code §1788.2(d), and a “consumer debt” as that
                                    8         term is defined by California Civil Code §1788.2(f).
                                    9   23. Sometime thereafter, Plaintiffs allegedly fell behind in the payments allegedly
                                   10         owed on the alleged debt. Plaintiffs dispute this alleged debt.
                                   11   24. Subsequently, but before November 5, 2010, the alleged debt was allegedly
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                                   12         assigned, placed, or otherwise transferred, to MCT Group (“MCT”) for
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                                   13         collection.
                                   14   25. On November 5, 2010, MCT initiated a lawsuit in the State of California
                                   15         against Plaintiffs in an attempt to collect the alleged debt, court case number
                                   16         37-2010-00061587-CU-CL-NC, MCT Group v. William Bruce Pace;
                                   17         Elisabeth Pace aka Elisabeth Kotzakidou Pace aka Elisabeth Kotzakidou, and
                                   18         Does 1 to 10, Inclusive, in the Superior Court of California, San Diego County
                                   19         (“the State Action”).
                                   20   26. Through the State Action, Plaintiffs and MCT agreed to settle the matter for
                                   21         an amount acceptable to all parties.
                                   22   27. On or about August 22, 2013, Plaintiffs fulfilled its obligation to MCT
                                   23         pursuant to the settlement agreement and, on September 4, 2013, received a
                                   24         letter from MCT confirming that the account had been paid in full.
                                   25   28. Despite this, SDCCU continued to report Plaintiffs’ account to the credit
                                   26         reporting agencies as delinquent.
                                   27   ///
                                   28   ///


                                        COMPLAINT FOR DAMAGES                                                   PAGE 4 OF 11
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                                    1   29. Upon being notified that SDCCU was reporting the inaccurate information to
                                    2       Plaintiffs’ credit reports, Plaintiffs immediately disputed the alleged debt with
                                    3       TransUnion in July 2015. In said dispute, Plaintiffs informed SDCCU and the
                                    4       credit bureaus that Plaintiffs’ alleged debt had been paid in full as a result of
                                    5       the State Action.
                                    6   30. Following reinvestigation, both Equifax and Experian deleted the inaccurate
                                    7       information from Plaintiffs’ credit reports.
                                    8   31. Despite receipt of the information supporting Plaintiffs’ claims, SDCCU
                                    9       verified the inaccurate information TransUnion continued to report said
                                   10       information.   To date, this derogatory mark remains on Plaintiff’s credit
                                   11       report.
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                                   12   32. Due to Defendants’ failure to investigate, Defendants failed to update
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                                   13       Plaintiffs’ credit files with the correct information and continue to report
                                   14       inaccurate information in violation of the FCRA.
                                   15   33. By inaccurately reporting Plaintiffs’ alleged delinquency, Defendants failed to
                                   16       take reasonable procedures to assure maximum accuracy of information
                                   17       concerning Plaintiffs’ credit files and is in violation of 15 U.S.C. § 1681 et
                                   18       seq.
                                   19   34. As a result of Defendants’ action and inaction, Plaintiffs have suffered
                                   20       damage by loss of credit, loss of ability to purchase and benefit from credit,
                                   21       increased costs for credit, mental and emotional pain and anguish, and
                                   22       humiliation and embarrassment of credit denials. Plaintiffs have further spent
                                   23       countless hours and suffered pecuniary loss in attempting to correct
                                   24       Defendants’ inaccurate and derogatory information, without success.
                                   25   35. As discussed below, the inaccurate information on Plaintiffs’ credit reports
                                   26       has caused Plaintiffs actual damages through the revocation of a car loan.
                                   27   36. Plaintiffs were denied a car loan through BMW of Vista (“BMW”) based
                                   28       upon the dealer’s preliminary review of Plaintiffs’ credit worthiness.


                                        COMPLAINT FOR DAMAGES                                               PAGE 5 OF 11
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                                    1   37. In its denial letter, BMW provided reasons for the adverse action, which
                                    2       included “Serious delinquency” and “Time since delinquency is too recent.”
                                    3   38. A review of Plaintiffs’ TransUnion reports, acquired at the same time as
                                    4       BMW’s denial, reveals that the only delinquent account listed by TransUnion
                                    5       under “Adverse Accounts” was SDCCU’s erroneous reporting of Plaintiffs’
                                    6       alleged debt. Specifically, SDCCU has been reporting Plaintiffs’ account as
                                    7       120 days delinquent since October 2013, one month after Plaintiffs had paid
                                    8       the debt in full under the State Action.
                                    9   39. As a result, Plaintiffs acquired financing for the vehicle through a different
                                   10       lending institution which the Plaintiffs allege resulted in a higher interest rate
                                   11       than they would have received had SDCCU reported accurate information on
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                                   12       Plaintiffs’ credit reports.
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                                   13   40. Through this conduct, SDCCU violated 15 U.S.C. § 1692d by engaging in
                                   14       conduct the natural consequence of which was to harass, oppress and abuse
                                   15       Plaintiffs in connection with the collection of Plaintiffs’ alleged debt. This
                                   16       section is incorporated into the RFDCPA through Cal. Civ. Code § 1788.17;
                                   17       thus, SDCCU violated Cal. Civ. Code § 1788.17.
                                   18   41. Through this conduct, SDCCU violated 15 U.S.C. § 1692e by using false,
                                   19       deceptive and misleading representations in connection with the collection of
                                   20       Plaintiffs’ alleged debt.     This section is incorporated into the RFDCPA
                                   21       through Cal. Civ. Code § 1788.17; thus, SDCCU violated Cal. Civ. Code §
                                   22       1788.17.
                                   23   42. Through this conduct, SDCCU violated 15 U.S.C. § 1692e(2)(A) by false
                                   24       representing the character, amount and legal status of Plaintiffs’ alleged debt.
                                   25       This section is incorporated into the RFDCPA through Cal. Civ. Code §
                                   26       1788.17; thus, SDCCU violated Cal. Civ. Code § 1788.17.
                                   27   43. Through this conduct, SDCCU violated 15 U.S.C. § 1692e(8) by knowingly
                                   28       communicating false information to the credit bureaus, including TransUnion.


                                        COMPLAINT FOR DAMAGES                                                PAGE 6 OF 11
                                        Case 3:15-cv-02289-AJB-BLM Document 1 Filed 10/14/15 PageID.8 Page 8 of 12



                                    1       This section is incorporated into the RFDCPA through Cal. Civ. Code §
                                    2       1788.17; thus, SDCCU violated Cal. Civ. Code § 1788.17.
                                    3   44. Through this conduct, SDCCU violated 15 U.S.C. § 1692e(10) by using false
                                    4       representations and deceptive means to collect Plaintiffs’ alleged debt. This
                                    5       section is incorporated into the RFDCPA through Cal. Civ. Code § 1788.17;
                                    6       thus, SDCCU violated Cal. Civ. Code § 1788.17.
                                    7   45. Through this conduct, SDCCU violated 15 U.S.C. § 1692f by using unfair and
                                    8       unconscionable means to collect Plaintiffs’ alleged debt.      This section is
                                    9       incorporated into the RFDCPA through Cal. Civ. Code § 1788.17; thus,
                                   10       SDCCU violated Cal. Civ. Code § 1788.17.
                                   11   46. Through this conduct, SDCCU violated 15 U.S.C. § 1692f(1) by attempting to
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                                   12       collect an amount not expressly authorized by the agreement creating
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                                   13       Plaintiffs’ alleged debt nor permitted by law. This section is incorporated into
                                   14       the RFDCPA through Cal. Civ. Code § 1788.17; thus, SDCCU violated Cal.
                                   15       Civ. Code § 1788.17.
                                   16   47. Thus, Defendants took actions against Plaintiffs concerning the alleged
                                   17       violation of the statute discussed above.     Consequently, Defendants have
                                   18       violated 15 U.S.C. §§ 1681 et seq.; Cal. Civ. Code § 1785.1; and, Cal. Civ.
                                   19       Code § 1788.17.
                                   20                                  CAUSES OF ACTION
                                   21                                       COUNT I
                                   22                 VIOLATION OF THE FAIR CREDIT REPORTING ACT
                                   23                               15 U.S.C. §§ 1681 ET SEQ.
                                   24                              [AGAINST ALL DEFENDANTS]
                                   25   48. Plaintiffs incorporate by reference all of the above paragraphs of this
                                   26       Complaint as though fully stated herein.
                                   27   49. Defendants willfully, recklessly, and negligently violated provisions of the
                                   28       FCRA.


                                        COMPLAINT FOR DAMAGES                                              PAGE 7 OF 11
                                        Case 3:15-cv-02289-AJB-BLM Document 1 Filed 10/14/15 PageID.9 Page 9 of 12



                                    1   50. Defendants’ violations include, but are not limited to the following:
                                    2       a.    Defendants violated 15 U.S.C. § 1681s-2(a)(1)(A) by furnishing the
                                    3            Plaintiffs’ information to a consumer reporting agency when Defendants
                                    4            knew or had reasonable cause to believe that the information was
                                    5            inaccurate.
                                    6   51. As a result of the above violations of the FCRA, Defendants are liable to
                                    7       Plaintiffs in the sum of Plaintiffs’ actual damages, punitive damages, costs,
                                    8       and reasonable attorney’s fees.
                                    9                                         COUNT II
                                   10      VIOLATION OF THE ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT
                                   11                             Cal. Civ. Code § 1788, et seq.
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                                   12                               [AGAINST SDCCU ONLY]
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                                   13   52. Plaintiffs incorporate by reference all of the above paragraphs of this
                                   14       Complaint as though fully stated herein.
                                   15   53. The foregoing acts and omissions constitute numerous and multiple violations
                                   16       of the RFDCPA.
                                   17   54. As a result of each and every violation of the RFDCPA, Plaintiffs are entitled
                                   18       to any actual damages pursuant to Cal. Civ. Code § 1788.30(a); statutory
                                   19       damages for a knowing or willful violation in the amount up to $1,000.00
                                   20       pursuant to Cal. Civ. Code § 1788.30(b); and reasonable attorneys fees and
                                   21       costs pursuant to Cal. Civ. Code § 1788.30(c) from Defendant SDCCU.
                                   22                                         COUNT III
                                   23     VIOLATION OF THE CALIFORNIA CONSUMER CREDIT REPORTING AGENCIES
                                   24                                           ACT
                                   25                            Cal. Civ. Code § 1785.1, et seq.
                                   26                               [AGAINST SDCCU ONLY]
                                   27   55. Plaintiffs incorporate by reference all of the above paragraphs of this
                                   28       Complaint as though fully stated herein.


                                        COMPLAINT FOR DAMAGES                                              PAGE 8 OF 11
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                                    1    56. The foregoing acts and omissions constitute numerous and multiple violations
                                    2          of the California Consumer Credit Reporting Agencies Act.
                                    3    57. In the regular course of its business operations, SDCCU routinely furnishes
                                    4          information to credit reporting agencies pertaining to transactions between
                                    5          SDCCU and SDCCU’s consumers, so as to provide information to a
                                    6          consumer’s credit worthiness, credit standing and credit capacity.
                                    7    58. Because SDCCU is a partnership, corporation, association, or other entity, and
                                    8          is therefore a “person” as that term is defined by Cal. Civ. Code § 1785.3(j),
                                    9          SDCCU is and always was obligated to not furnish information on a specific
                                   10          transaction or experience to any consumer credit reporting agency if the
                                   11          person knows or should have known that the information is incomplete or
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                                   12          inaccurate, as required by Cal. Civ. Code § 1785.25(a).         Since SDCCU
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                                   13          allegedly received all documents required to collect Plaintiffs’ alleged debt,
                                   14          SDCCU should have also known that Plaintiffs’ alleged debt had been paid in
                                   15          full.
                                   16                                    PRAYER FOR RELIEF
                                   17    WHEREFORE, Plaintiffs pray that judgment be entered against Defendants for:
                                   18          • An award of actual damages, in an amount to be determined at trial or
                                   19              damages of a maximum of $1,000 pursuant to 15 U.S.C. § 1681n(a)(1)(A),
                                   20              against Defendants for each incident of willful noncompliance of the
                                   21              FCRA;
                                   22          • An award of actual damages, in an amount to be determined at trial,
                                   23              pursuant to Cal. Civ. Code § 1788.30(a), against each named Defendant
                                   24              individually;
                                   25          • An award of punitive damages, as the Court may allow pursuant to 15
                                   26              U.S.C. § 1681n(a)(2), against Defendants for each incident of willful
                                   27              noncompliance to the FCRA;
                                   28    ///


                                         COMPLAINT FOR DAMAGES                                                PAGE 9 OF 11
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                                    1          • An award of statutory damages of $1,000.00, pursuant to Cal. Civ. Code
                                    2             § 1788.30(b), against each named Defendant individually;
                                    3          • An award for costs and reasonable attorney’s fess, pursuant to 15 U.S.C. §
                                    4             1681n(a)(3), against Defendants for each incident of negligent
                                    5             noncompliance of the FCRA;
                                    6          • An award of costs of litigation and reasonable attorney’s fees, pursuant to
                                    7             Cal. Civ. Code § 1788.30(c), against each named Defendant individually;
                                    8          • An award of actual damages in an amount to be determined at trial
                                    9             pursuant to 15 U.S.C. § 1681o(a)(1) against Defendants for each incident
                                   10             of negligent noncompliance of the FCRA;
                                   11          • An award of costs and litigation and reasonable attorney’s fees pursuant
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                                   12             15 U.S.C. § 1681n(a)(3) and 15 U.S.C. § 1681o(a)(2) against Defendants
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                                   13             for each incident of noncompliance of the FCRA;
                                   14          • An award of actual damages, in an amount to be determined at trial,
                                   15             pursuant to Cal. Civ. Code § 1785.31(a)(2)(A), against each named
                                   16             Defendant individually;
                                   17          • Award of attorneys’ fees and costs pursuant to Cal. Civ. Code §
                                   18             1785.31(a)(1); and, Cal. Civ. Code § 1785.31(d) against each named
                                   19             Defendant individually;
                                   20          • An award of punitive damages of $100-$5,000 per willful violation of
                                   21             Cal. Civ. Code § 1785.25(a), pursuant to Cal. Civ. Code §
                                   22             1785.31(a)(2)(B);
                                   23          • For equitable and injunctive relief pursuant to Cal. Civ. Code §
                                   24             1785.31(b); and,
                                   25          • Any and all other relief the Court deems just and proper.
                                   26    ///
                                   27    ///
                                   28    ///


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                                    1                                       TRIAL BY JURY
                                    2    59. Pursuant to the seventh amendment to the Constitution of the United States of
                                    3         America, Plaintiffs are entitled to, and demand, a trial by jury.
                                    4
                                    5
                                         Dated: October 12, 2015                                       Respectfully submitted,
                                    6
                                    7                                                        KAZEROUNI LAW GROUP, APC
                                    8
                                                                                             By: ___/s/ Matthew M. Loker___
                                    9                                                              MATTHEW M. LOKER, ESQ.
                                                                                                    ATTORNEY FOR PLAINTIFF
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                                   11
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    C OSTA M ESA , CA 92626




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